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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

GRAYSON-BEY,                      Case No. 19-cv-13588-NGE-DRG
                                  Hon. Nancy G. Edmunds
     Plaintiff,                   Mag. Judge David R. Grand
v.

SOUTHFIELD POLICE DEPARTMENT,
OFFICER MICHAEL WOJCIECHOWSKI,
OFFICER DAVID MOORE, and OFFICER
SWADE FOX,

     Defendants.

GRAYSON-BEY                       SEWARD HENDERSON PLLC
Plaintiff, Pro Se                 By: T. Joseph Seward (P35095)
18992 Westbrook                         David D. Burress (P77525)
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                       AMENDED PROOF OF SERVICE

      I hereby certify that on Monday, February 17, 2020, I filed the
following documents with the ECF system. On Wednesday, February 19,
2020, I served the following documents upon Plaintiff, via U.S. First Class
Mail.

            ECF No. 10 - Appearance of T. Joseph Seward
            ECF No. 11 - Appearance of David D. Burress
Case 2:19-cv-13588-NGE-DRG ECF No. 13, PageID.42 Filed 02/19/20 Page 2 of 2




                                   Respectfully submitted,

                                   SEWARD HENDERSON PLLC

                                   /s/ T. Joseph Seward (P35095)
                                   Attorneys for Defendants
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                                   Royal Oak, Michigan 48067
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Dated: February 19, 2020



                             PROOF OF SERVICE

      I hereby certify that on Wednesday, February 19, 2020, I electronically
filed the foregoing document with the Clerk of the court using the ECF
system, and served it upon Plaintiff via U.S. First Class Mail.

                                   /s/ Alyssa Schwarcz
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Dated: February 19, 2020
